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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JAMES SANDERS,
Plaintiff,
-against- : ORDER

PUBLIC HOTEL, 215 CHRYSTIE MANAGEMENT _ : 20 Civ. 4105 (GBD)
LLC, 215 CHRYSTIE LLC, JEAN-GEORGES

MANAGEMENT LLC, JEAN-GEORGES

ENTERPRISES LLC, and MARIA ESCALLON, in her :

individual and professional capacities,

Defendants.

GEORGE B. DANIELS, United States District Judge:

Defendant Maria Escallon’s motion to dismiss dated August 7, 2020, (ECF No. 31), is
DENIED as moot, because Plaintiff subsequently filed an amended complaint, (ECF No. 39), to
which Defendant Escallon has filed an answer.

Dated: New York, New York

October 15, 2020
SO ORDERED.

so .
CEP REE B. DANIELS
ited States District Judge

 
